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                                6   Attorneys for Plaintiff,
                                    JANE DOE
                                7

                                8                                UNITED STATES DISTRICT COURT

                                9                               NORTHERN DISTRICT OF CALIFORNIA

                               10

                               11   JANE DOE,                                          Case No.
                               12                                                      COMPLAINT FOR:
                                                   Plaintiff,
                                                                                       BREACH OF THE EMPLOYEE
Northridge, California 91324
 KANTOR & KANTOR LLP




                               13                                                      RETIREMENT INCOME SECURITY
  19839 Nordhoff Street




                                                                                       ACT OF 1974; ENFORCEMENT AND
       (818) 886 2525




                               14          vs.                                         CLARIFICATION OF RIGHTS;
                                                                                       PREJUDGMENT AND
                               15                                                      POSTJUDGMENT INTEREST;
                                    APPLE INC. HEALTH AND WELFARE                      PENALTIES; AND ATTORNEYS’ FEES
                               16                                                      AND COSTS
                                    BENEFIT PLAN,
                               17
                                                   Defendant.
                               18

                               19

                               20
                                           Plaintiff JANE DOE herein sets forth the allegations of her Complaint against Defendant
                               21
                                    APPLE INC. HEALTH AND WELFARE BENEFIT PLAN.
                               22

                               23
                                                                   PRELIMINARY ALLEGATIONS
                               24
                                           1.      Jurisdiction: This action is brought under 29 U.S.C. §§ 1132(a), (e), (f) and (g) of the
                               25
                                    Employee Retirement Income Security Act of 1974 (hereinafter “ERISA”) as it involves a claim by
                               26
                                    Plaintiff for employee benefits under an employee benefit plan regulated and governed under ERISA.
                               27
                                    Jurisdiction is predicated under these code sections as well as 28 U.S.C. § 1331 as this action
                               28

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                                1   involves a federal question. This action is brought for the purpose of obtaining benefits under the

                                2   terms of an employee benefit plan and enforcing Plaintiff’s rights under the terms of an employee

                                3   benefit plan. Plaintiff seeks relief, including but not limited to: payment of benefits, prejudgment and

                                4   post-judgment interest, and attorneys’ fees and costs.

                                5             2.   Plaintiff JANE DOE is a resident of San Jose, California and at all times relevant was

                                6   a resident in Santa Clara County, California. Therefore, venue is proper in this judicial district

                                7   pursuant to 29 U.S.C. § 1132(e)(2).

                                8             3.   At the time of the events described below Plaintiff was a minor.

                                9             4.   Furthermore, the evidence to be presented in this matter contains highly sensitive

                               10   personal information related to Plaintiff’s mental health. The evidence includes treatment notes and

                               11   other records documenting Plaintiff’s medical and personal history, and describes the nature of

                               12   Plaintiff’s complex and fragile mental health.
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                               13             5.   For these reasons, and pursuant to Federal Rule of Civil Procedure 5.2, Plaintiff is
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                               14   proceeding under a pseudonym.

                               15             6.   Plaintiff was at all relevant times a beneficiary under Defendant APPLE INC.

                               16   HEALTH AND WELFARE BENEFIT PLAN (the “Plan”), an employee group health benefit plan

                               17   pursuant to which Plaintiff was entitled to health benefits.

                               18             7.   The Plan has its principal place of business in Cupertino, California, is authorized to

                               19   transact and is transacting business in this judicial district, the Northern District of California, and

                               20   can be found in the Northern District of California.

                               21

                               22                                      FIRST CLAIM FOR RELIEF
                               23                        FOR DENIAL OF PLAN BENEFITS UNDER ERISA
                               24             8.   Plaintiff incorporates by reference the foregoing paragraphs as though fully set forth
                               25   herein.
                               26             9.   On January 26, 2020, Plaintiff was involuntarily admitted on a psychiatric hold
                               27   following a suicide attempt.
                               28

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                                1           10.      While Plaintiff was hospitalized, her father began researching residential treatment

                                2   centers (“RTCs”) that would be appropriate to treat Plaintiff’s conditions after her course of

                                3   inpatient treatment was completed.

                                4           11.      On February 12, 2020, Plaintiff’s father asked the Plan’s claim administrator,

                                5   United Behavioral Health (“UBH”) for coverage information regarding Avalon Hills Adolescent

                                6   Treatment Facility (“Avalon Hills”). UBH told Plaintiff’s father that it was “unable to auth to that

                                7   facility.”

                                8           12.      On February 19, 2020, UBH informed Plaintiff’s father about three residential

                                9   treatment providers, none of which had the highly specialized treatment components that Avalon

                               10   Hills offered and were specifically needed to treat Plaintiff’s condition.

                               11           13.      Also on February 19, 2020, Avalon Hills called UBH regarding Plaintiff’s

                               12   coverage. UBH stated, “Inbound call from Facility regarding M[ental]H[ealth]…Calling
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                               13   regarding: Authorization for RTC.… This diagnosis is in scope for QuickCert, except when
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                               14   treatment is I[ntensive]O[out]P[atient]. Auth request did not qualify for Admin QuickCert process

                               15   due to 3 or more admits. Verified the following INN Providers: Avalon Hills Adolescent

                               16   Treatment Facility.”

                               17           14.      Later on February 19, 2020, another UBH representative documented the

                               18   following: “Unavailable facility: Authorization unavailable for RTC and PHP L[evel]O[f]C[are]

                               19   due to Service Component Not Consistent with LOC Guidelines; Clinical Denial – Send For Peer

                               20   Review; medical oversight[.]”

                               21           15.      Avalon Hills initially requested a peer-to-peer review of UBH’s decision. However,

                               22   upon realizing that UBH had denied the authorization of benefits on a non-clinical basis, Avalon

                               23   Hills rescinded its request for a peer-to-peer review, and requested a denial letter so that Plaintiff’s

                               24   family could appeal.

                               25           16.      Initially, UBH refused to provide a denial letter, claiming that Avalon Hills had

                               26   rescinded its request for coverage: “advised that since facility chose not to do the review but rather

                               27   rescinded their request a denial letter will not be issued or sent since we didn’t yet deny anything.”

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                                1          17.     On March 4, 2020, Avalon Hills called UBH and provided updated clinical

                                2   information in order for UBH to conduct a peer review.

                                3          18.     On March 6, 2020, UBH’s peer reviewer Dr. Joan Odom participated in a

                                4   telephonic peer-to-peer review with representatives from Avalon Hills.

                                5          19.     At the end of the review, Dr. Odom concluded that Plaintiff did indeed need

                                6   continued treatment at the residential level.

                                7          20.     However, Dr. Odom stated, “it is my determination that the requested service does

                                8   not meet the CASII Recommendations required to be followed in the member’s behavioral health

                                9   plan benefits. Specifically, authorization is unavailable for RTC and PHP LOCs at this facility due

                               10   to Service Components Not Consistent with LOC Guidelines.”

                               11          21.     On March 9, 2020, UBH issued a written denial letter written by Dr. Odom.

                               12          22.     In her letter, Dr. Odom stated, “it is my determination that no further authorization
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                               13   can be provided from 03/04/2020 forward…the current facility does not have service components
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                               14   that meet Optum’s requirements for CASII Level 5: Medically Monitored Residential Services.”

                               15          23.     In her letter, Dr. Odom did not offer an explanation as to how Avalon Hills did not

                               16   meet required “service components for residential treatment.”

                               17          24.     Plaintiff appealed this decision on September 3, 2020.

                               18          25.     UBH denied Plaintiff’s appeal in a letter dated October 2, 2020.

                               19          26.     The rationale for UBH’s denial in its October 2, 2020 letter was: “Optum practice

                               20   management had determined that Avalon Hills Adolescent Treatment Facility did not meet clinical

                               21   service guidelines for this level of care. The facility has been designated as not available for

                               22   authorization. Further questions regarding this status can be directed to Optum Practice

                               23   Management. Your treatment could’ve been provided at alternate residential programs that was

                               24   meeting our guidelines for CASII Service Level 5: Medically Monitored Residential Service

                               25   (residential treatment)…Please discuss your treatment with your provider.”

                               26          27.     Plaintiff submitted a second-level appeal of this decision on August 6, 2021.

                               27          28.     To date, UBH has not rendered a decision on Plaintiff’s second-level appeal, in

                               28   violation of ERISA claim regulations.

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                                1          29.     Because Defendant did not approve her claim for benefits, Plaintiff has incurred the

                                2   cost of her medical treatment at Avalon Hills.

                                3          30.     Defendant wrongfully denied Plaintiff’s request for authorization and coverage of her

                                4   treatment at Avalon Hills in the following respects, among others:

                                5                  (a)     Failure to authorize and pay for medical services rendered to Plaintiff as
                                6                          required by the Plan at a time when Defendant and its claim administrators
                                7                          knew Plaintiff was entitled to such benefits under the terms of the Plan;
                                8                  (b)     Failure to provide reasonable explanations of the bases relied on under the
                                9                          terms of the Plan, in relation to the applicable facts and plan provisions, for
                               10                          the denial of Plaintiff’s request for authorization and coverage of her
                               11
                                                           treatment at Avalon Hills;
                               12
                                                   (c)     After Plaintiff’s requests were denied in whole or in part, failure to
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                                                           adequately describe to Plaintiff any additional material or information
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                               14
                                                           necessary to perfect her request along with an explanation of why such
                               15
                                                           material is or was necessary;
                               16
                                                   (d)     Failure to properly and adequately investigate the merits of Plaintiff’s
                               17
                                                           request; and
                               18
                                                   (e)     Failure to provide Plaintiff with a full and fair review pursuant to 29
                               19
                                                           C.F.R.§ 2560.503-1(g)-(j).
                               20
                                           31.     Plaintiff is informed and believes and thereon alleges that Defendant wrongfully
                               21
                                    denied Plaintiff’s claims for medical benefits by other acts or omissions of which Plaintiff is
                               22
                                    presently unaware, but which may be discovered in this future litigation and of which Plaintiff will
                               23
                                    immediately make Defendant aware once said acts or omissions are discovered by Plaintiff.
                               24
                                           32.     Following the denial of the request under the Plan, Plaintiff exhausted all
                               25
                                    administrative remedies required under ERISA, and performed all duties and obligations on her part
                               26
                                    to be performed.
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                                1               33.   As a proximate result of the denial of medical benefits due Plaintiff, Plaintiff has been

                                2   damaged in the amount of the cost incurred for her treatment, in a total sum to be proven at the time

                                3   of trial.

                                4               34.   As a further direct and proximate result of this improper determination regarding the

                                5   medical claims, Plaintiff, in pursuing this action, has been required to incur attorneys’ costs and fees.

                                6   Pursuant to 29 U.S.C. § 1132(g)(1), Plaintiff is entitled to have such fees and costs paid by

                                7   Defendant.

                                8               35.   Due to the wrongful conduct of Defendant, Plaintiff is entitled to enforce her rights

                                9   under the terms of the Plan and to clarify her right to benefits under the terms of the Plan.

                               10

                               11                                      SECOND CLAIM FOR RELIEF

                               12                               FOR EQUITABLE RELIEF UNDER ERISA
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                               13               36.   Plaintiff incorporates by reference the foregoing paragraphs as though fully set forth
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                               14   herein.

                               15               37.   As a direct and proximate result of the failure of Defendant to approve Plaintiff’s

                               16   request for authorization and coverage of her treatment at Avalon Hills, and the resulting injuries and

                               17   damages sustained by Plaintiff as alleged herein, Plaintiff is entitled to and hereby requests that this

                               18   Court grant Plaintiff the following relief pursuant to 29 U.S.C. § 1132(a)(1)(B):

                               19                     (a)    Restitution of all past benefits due to Plaintiff, plus prejudgment and post-

                               20                            judgment interest at the lawful rate; and

                               21                     (b)    An order requiring Defendant to approve Plaintiff’s request for

                               22                            authorization and coverage of her treatment at Avalon Hills;

                               23                     (c)    Such other and further relief as the Court deems necessary and proper to

                               24                            protect the interests of Plaintiff under the Plan.

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                                1                                      REQUEST FOR RELIEF

                                2          Wherefore, Plaintiff prays for judgment against Defendant as follows:

                                3          1.      Payment of health care benefits due to Plaintiff under the Plan;

                                4          2.      Pursuant to 29 U.S.C. § 1132(g), payment of all costs and attorneys’ fees incurred

                                5   in pursuing this action;

                                6          3.      Payment of prejudgment and post-judgment interest as allowed for under ERISA;

                                7   and

                                8          4.      For such other and further relief as the Court deems just and proper.

                                9
                               10   DATED: April 27, 2022                        KANTOR & KANTOR, LLP

                               11
                                                                                 BY: /s/ Peter S. Sessions
                               12                                                       Peter S. Sessions
Northridge, California 91324




                                                                                        Attorneys for Plaintiff,
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                               13
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                                                                                        JANE DOE
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                                                                              COMPLAINT
